UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF TENNESSEE

EUGENE SCALIA,
Secretary of Labor, United States
Department of Labor,
Case No. 3:19-CV-00150-JRG-HBG
Plaintiff
District Judge J. Ronnie Greer
v.

SOUTHEASTERN PROVISION, LLC
and JAMES BRANTLEY,

Nee ee Ne eee ele le es es a”

Defendants
CONSENT ORDER AND PERMANENT INJUNCTION

This matter is before the Court on the parties’ joint motion for entry of consent decree. |
The parties have advised the Court that they have resolved this matter and that the Defendants have
consented to the entry of this order without further contest. Based on the parties’ agreement, it is
therefore ORDERED, ADJUDGED and DECREED that the Defendants, Southeastern Provision, LLC
and James Brantley, their agents, servants, employees, and all persons in active concert or participation
with them who receive actual notice hereof, are permanently enjoined from violating the Fair Labor
Standards Act of 1938, 29 U.S.C. § 201, ef seq., in any of the following manners:

1. They shall not, contrary to §§ 6 and 15(a)(2) of the Act, 29 U.S.C. §§ 206 and
215(a)(2), pay any employee who is engaged in commerce or in the production of goods for commerce, .
or who is employed in an enterprise engaged in commerce or in the production of goods for commerce,
within the meaning of the Act, wages at a rate less than the applicable minimum hourly rate prescribed
by said § 6 as now in effect or which hereafter may be made applicable by amendment thereto.

2. They shall not, contrary to §§ 7 and 15(a)(2) of the Act, 29 U.S.C. §§ 207 and

215(a)(2), employ any employee who is engaged in commerce or in the production of goods for

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commerce, or who is employed in an enterprise engaged in commerce or in the production of goods for
commerce, within the meaning of the Act, for more than 40 hours in a workweek unless such employee
is compensated for such hours in excess of 40 at an overtime rate of at least one and one-half times the
regular rate at which such employee is employed.

3. They shall not, contrary to §§ 11(c) and 15(a)(5) of the Act, 29 U.S.C. §§ 211(c) and
215(a)(5), fail to make, keep, and preserve adequate and accurate employment records as prescribed by
Regulation found at 29 C.F.R. Part 516. |

It is further ORDERED, ADJUDGED and DECREED that Plaintiff shall recover
damages from Defendants totaling $610,000 over a period of 36 months as set forth herein. This amount
ropeosents back wages in the amount of $305,000 and liquidated damages in the amount of $305,000.
These damages are being paid to compensate the individuals listed on Exhibit A to the amended
complaint [ECF No. 18-1]. These individuals were employed by the Defendants during the time periods
listed on Schedule A attached hereto. The private rights under the Act of any person not named or for
periods not stated shall not be terminated or otherwise affected by this proceeding.

To comply with this provision of the order, Defendants shall issue payroll checks to all
persons currently employed by them as provided in Schedule B. Checks will be issued in in the amounts
indicated, less any applicable deductions. For persons no longer employed by the Defendants, the
Defendants shall issue checks, as provided in the Schedule, and mail the checks to each employee’s last
known address. With respect to timing, Defendants shall make the payments as provided in the
Schedule. Within 60 days of mailing and/or distributing each check, Defendants shall provide the
Plaintiff with a copy of the checks issued (along with a schedule showing any deductions that were
made and the amounts thereof), report to the Plaintiff regarding whether each check has been negotiated

and/or cleared the issuing financial institution, and provide Plaintiff with proof of such negotiation ora

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signed Form WH-58.! For all checks that were not negotiated or cashed, the Defendants shall reissue a
single check to “Wage and Hour Division - Labor” to cover the net due to all employees who did not
negotiate or cash their checks for that installment.” The “net due” is the amount shown on Schedule A,
less any applicable deductions. The Defendants will thereafter provide the check to the Plaintiff, along
with a schedule listing the names of the employees for whom payment is being made, the employees’
last known address, social security number (if possible), and the gross and net amount due to each
employee. Upon receipt of the checks, Plaintiff may distribute the funds to the employees or to their
personal representatives. Any amounts not so distributed by Plaintiff within three years after the date of
this order, because of inability to locate the proper persons or because of such persons’ refusals to
accept such sums, shall be deposited into the Treasury of the United States as miscellaneous receipts.
Defendants shall remain responsible for the employer’s share of any F.I.C.A. or other applicable taxes
arising from or related to the back wages paid hereunder. In the event that any of the checks expire prior
to being negotiated, the Defendants shall, at the request of the Plaintiff, reissue said check.

FURTHER ORDERED that in the event of default by Defendants in the payment of any
of the installments listed on Schedule B, the total balance then remaining unpaid shall become due and
payable immediately, with no further notice or demand required, and post judgment interest shall be
assessed against such remaining unpaid balance, in accordance with 28 U.S.C. § 1961, from the date of
default until paid in full.

FURTHER ORDERED that Defendants shall not request, solicit, suggest or coerce,

directly or indirectly, any employee to return or to offer to return to Defendants, or to someone else for

 

' The Defendants shall provide this information to: Nettie Lewis, District Director, Wage and
Hour Division, at 1321 Murfreesboro Road, Suite 204, Nashville, Tennessee 37217.

2 Defendants may issue “stop payment” orders with their financial institution as to those checks

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Defendants, any money in the form of cash, check or in any other form, for monies previously due or to
become due in the future to said employees under the provisions of this order; nor shall Defendants
accept, or receive from any employee, either directly or indirectly, any money in the form of cash, check
or any other form for wages heretofore or hereafter paid to said employee under the provisions of this
order; nor shall Defendants discharge or in any other manner discriminate, nor solicit or encourage
anyone else to discriminate against any such employee because such employee has received or retained
money due from Defendants under the provisions of this order.

FURTHER ORDERED that each party shall bear such other of its own attorney fees and
expenses incurred by such party in connection with any stage of this proceeding, including but not

limited to, attorney fees which may be available under the Equal Access to Justice Act, as amended.

re RABLE J. RONNIE’ GREER

ED STATES DISTRICT JUDGE

 

 

that were not negotiated or cashed, if they so desire.

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Approved for Entry:

KATE O'SCANNLAIN
Solicitor of Labor

TREMELLE HOWARD
Regional Solicitor

. POST OFFICE ADDRESS THERESA BALL
Associate Regional Solicitor

Office of the Solicitor

U.S. Department of Labor ‘ ~
618 Church Street, Suite 230 MA an
Nashville, Tennessee 37219 MATS. SHEPHERD

Telephone: (615) 781-5330

  

Fax No.: (615) 781-5321 U.S. Department of Labor
nash fedcourt@dol.gov Attorneys for Plainuff

+ shepherd matt@dol.gor

 

& Mave Be Indi vidually a nd on behalf
of Southeastern Provision, LLC

 

‘1617 Helton Road
Bean Station, Tennessee 37708 Telephone: (865) 566-0125
Fax No.: (865) 566-0126

ndmiahelpingctients.com

Attorney tor Defendants

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Schedule A

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Employee Period Covered Back wages Liquidated Total Due
Damages Employee —
Delfino Fernandez Abad S/T/N7T — 4/8/18 6,266.79 6,266.79 12,533.58
Juan Lopez Alvarado 5/7/17 — 4/8/18 2,773.91 2,773.91 5,547.82
Anahi Alvarez 5/77 — 4/8/18 2,395.74 2,395.74 4,791.48
Ramario Navarro Amezcua SITT — 4/8/18 1,813.17 1,813.17 3,626.34
Juan Cruz Angeles 5/7/17 — 4/8/18 1,813.17 1,813.17 3,626.34
Melinda Ann 11/19/17 — 4/8/18 334.43 334.43 668.86
Petronilo Argueta 5/77 — 3/11/18 2,463.44 2,463.44 4,926.88
Yamir Arismendi 11/5/17 — 4/8/18 283.35 283.35 566.70
Evelio Alejandro Bravo 5/7/17 — 4/8/18 1,813.17 1,813.17 3,626.34
Arreaga
Zilo Arzola 5/77 — 4/8/18 1,508.40 1,508.40 3,016.80
Jake Atkins SITINT — 4/8/18 953.67 953.67 1,907.34
Rogelio Huertas Aviles 5/7/17 — 4/8/18 1,781.29 1,781.29 3,562.58
Erick Alejandro Sanchez 5/7/17 — 4/8/18 1,813.17 1,813.17 3,626.34
Baena
Pablo Barreras S/TNT — 4/8/18 2,630.32 2,630.32 5,260.64
Juan Bautista 12/31/17 — 4/8/18 289.22 289.22 578.44
Ismael Beltran SIT/7 — 3/4/18 2,116.28 2,116.28 4,232.56
Jennifer Bishop 5/7/17 — 4/8/18 600.02 600.02 1,200.04
Macario Bohorquez 5/7/17 — 4/8/18 2,720.44 2,720.44 5,440.88
Timothy Bowlin 5/77 — 4/8/18 3,673.15 3,673.15 7,346.30
Justin Bussell 9/24/17 — 4/8/18 451.31 451.31 902.62
Cecilio Arzola Campos 5/7/17 — 4/8/18 1,813.17 1,813.17 3,626.34
Erandi Campos 5/7/17 — 4/8/18 1,866.86 1,866.86 3,733.72
Teresita de Jesus Martinez 5/7/17 — 4/8/18 1,813.17 1,813.17 3,626.34
Carrizales
. Valentin Catalin 11/19/17 — 4/1/18 575.99 575.99 1,151.98
Nayeli Chagala 11/19/17 — 4/8/18 689.66 689.66 1,379.32
Alberto Librado Chavez 5/7/17 — 4/8/18 1,946.04 1,946.04 3,892.08
Ricardo Soto Colon 5/7/17 — 4/8/18 1,966.45 1,966.45 3,932.90
Victoria Contreras 6/18/17 — 4/8/18 1,814.07 1,814.07 3,628.14
Aljeandra Cruz 5/7/17 — 4/8/18 2,288.85 2,288.85 4,577.70
Donato Hernandez Cruz 5/7/17 — 4/8/18 2,494.30 2,494.30 4,988.60
Guillimina Cruz 5/TINT — 4/8/18 2,240.62 2,240.62 4,481.24
Luisa Mendoza Cruz 5/T/17 — 4/8/18 2,155.86 2,155.86 4,311.72
Margarita Hernandez Cruz S/T/N7 — 4/8/18 3,640.38 3,640.38 7,280.76
Maria Cruz 11/5/17 — 4/8/18 497.45 497.45 994,90
Donnie Dalton 5/7/17 — 4/8/18 6,359.80 6,359.80 12,719.60
Jonathan Davis 5/7/17 — 3/4/18 77.67 77.67 155.34
Gina Dean SITNNT — 4/8/18 86.71 86.71 173.42
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Domingo Gregorio Domingo 5/7/17 — 4/8/18 1,813.17 1,813.17 3,626.34
C. Spencer England S/TIV7 — 4/8/18 3,875.65 3,875.65 7,751.30
Francisco Nuci Estrada 5/717 — 4/8/18 2,044.59 2,044.59 4,089.18
Juan Silva Estrada SITANT — 4/8/18 2,349.41 2,349.41 4,698.82
Pedro Nuci Estrada S/T/17 — 4/8/18 2,155.56 2,155.56 4,311.12
Omar Barcelos Garcia SIT] — T/2NN7 936.92 936.92 1,873.84
Mateo Gomez 5/7/17 — 4/8/18 1,908.09 1,908.09 3,816.18
Nicolas Gomez 5/7/17 — 4/8/18 2,228.52 2,228.52 4,457.04
Esteban Gonsalez 9/10/17 — 4/8/18 911.83 911.83 1,823.66
Maria Gonsalez SITNT — 4/8/18 2,019.65 2,019.65 4,039.30
_ Augustin Gonzalez SITINT — 4/8/18 5,641.88 5,641.88 11,283.76
Elvia Cruz Gonzalez SIT/17 — 4/8/18 1,813.17 1,813.17 3,626.34
Pedro Felipe Gutierrez S/T/N7 — 4/8/18 2,350.21 2,350.21 4,700.42
Alejandra Guzman 2/25/18 — 4/8/18 84.38 84.38 168.76
Alejandro Guzman SITINT — 4/8/18 2,502.04 2,502.04 5,004.08
Jesus Perez Hernandez 5/7/17 — 4/8/18 4,625.53 4,625.53 9,251.06
Jose Lucas Hernandez SITT — 4/1/18 4,062.88 4,062.88 8,125.76
Juan Dajui Hernandez SITIN7 — 4/8/18 1,813.17 1,813.17 3,626.34
Juan Lucas Hernandez 5/TN7 — 4/8/18 2,756.43 2,756.43 5,512.86
~ Salvado Huipe 5/7/17 — 4/8/18 1,823.93 1,823.93 3,647.86
Martin Arzola Hurtado SITIN7 — 4/8/18 1,813.17 1,813.17 3,626.34
Priscilla Keck 5/717 — 4/8/18 73.96 73.96 147.92
Tracey Kinningham SIT/7 — 4/8/18 1,165.22 1,165.22 2,330.44
Carl Kinser S/T/7 — 4/8/18 6,004.00 6,004.00 12,008.00
Gudelia Kinser 5/7/17 — 4/8/18 3,126.74 3,126.74 6,253.48
Jason Kinser 5/7/17 — 4/8/18 6,929.89 6,929.89 13,859.78
Ponciano Hernandez Lama 5/7/17 — 4/8/18 1,813.17 1,813.17 3,626.34
Taylor Lamb 5/7/17 — 4/8/18 1,265.66 1,265.66 2,531.32
Victor Leal SIT/17 — 4/8/18 2,991.14 2,991.14 5,982.28
Alberto Libraro 5/7/17 — 4/8/18 1,772.21 1,772.21 3,544.42
Esteban Lopez 5/7/17 — 4/8/18 6,601.35 6,601.35 13,202.70
Joel Lopez S/T\7 — 4/8/18 1,675.29 1,675.29 3,350.58
Martha Alvarado Lopez 5/7/17 — 4/8/18 4,008.13 4,008.13 8,016.26
Marvin Oriel Marroquin 5/7/17 — 4/8/18 1,813.17 1,813.17 3,626.34
Lopez
Pablo Lopez SITIN7T — 4/8/18 1,223.60 1,223.60 2,447.20
Hollie Luallen 5/77 — 10/15/17 535.02 535.02 1,070.04
Juan Manual SIT — 4/8/18 3,198.39 3,198.39 6,396.78
Jose Saul Manuel SITAT — 4/8/18 1,813.17 1,813.17 3,626.34
Antonio Garcia Martin 5/7/17 — 4/8/18 1,813.17 1,813.17 3,626.34
Gonzalo Chavez Martinez SITIN7 — 4/8/18 1,813.17 1,813.17 3,626.34
Luis Bautista Martinez 5/7/17 — 4/8/18 1,813.17 1,813.17 3,626.34
Teresa Martinez 5/7/17 — 4/8/18 1,957.97 1,957.97 3,915.94

 

 

 

 

 

 

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Adan Mejia 11/19/17 — 4/8/18 220.98 220.98 441.96
Mario Mejia 2/25/18 — 4/8/18 46.44 46.44 92.88
Adriana Cruz Mendoza 11/19/17 — 4/8/18 428.26 428.26 856.52
Carolina Romulo Mendoza 1/14/18 — 4/8/18 235.00 235.00 470.00
Ofelia Mendoza Mendoza S/T/17 — 4/8/18 1,732.00 1,732.00 3,464.00
Veronica Perez Mendoza SITNNT — 4/8/18 1,908.80 1,908.80 3,817.60
Jorge Meraz 5/7/17 — 4/8/18 6,610.18 6,610.18 13,220.36
Alma Mercado 5/7/17 — 4/8/18 1,813.17 1,813.17 3,626.34
Frank Montalvo S/T/17 — 4/8/18 135.67 135.67 271.34
Joseph Montalvo 2/4/18 — 4/8/18 4,543.74 4,543.74 9,087.48
Candelaria Morales 11/19/17 — 4/8/18 592.95 592.95 1,185.90
Esperanza Torres Morales 5/7/17 — 4/8/18 2,075.70 2,075.70 4,151.40
Glendy Morales 11/19/17 — 4/8/18 464.15 464.15 928.30
Gloria Mejia Munoz 5/7/17 — 4/8/18 1,947.03 1,947.03 3,894.06
Ramiro Narro 11/19/17 — 4/8/18 678.53 678.53 1,357.06
Javier Navarrete 5/7/17 — 4/8/18 3,153.37 3,153.37 6,306.74
Juan Nuci 11/26/17 — 4/8/18 498.54 498.54 997.08
Hector Ortiz 5/7/17 — 4/8/18 12,074.99 12,074.99 24,149.98
Magdalena Alonso Pablo 5/7/17 — 4/8/18 1,813.17 1,813.17 3,626.34
Pedro Gomez Pablo S/T/17 — 4/8/18 1,813.17 1,813.17 3,626.34
Carmen (Angela) Pedraza 5/7/17 — 4/8/18 1,343.13 1,343.13 2,686.26
Rigobeto Peres 11/19/17 — 4/8/18 507.84 507.84 1,015.68
Daniel Perez 11/19/17 — 4/8/18 545.10 545.10 1,090.20
David Perez S/IT/N7 — 4/8/18 1,721.56 1,721.56 3,443.12
Esperanza Perez 8/20/17 — 4/8/18 1,061.62 1,061.62 2,123.24
Jose Perez 11/19/17 — 4/8/18 658.83 658.83 1,317.66
Virgen Mendoza Perez SIT/N7 — 4/8/18 1,908.80 1,908.80 3,817.60
Martha Polido S/T/17 — 4/8/18 301.76 301.76 603.52
Teresa Quezada S/T/N7 — 4/8/18 1,758.68 1,758.68 3,517.36
Cesar Ramirez 5/7/17 — 4/8/18 1,654.38 1,654.38 3,308.76
Claudio Ramirez 5/7/17 — 4/8/18 2,466.44 2,466.44 4,932.88
Cristino Ramirez S/TAT — 4/8/18 3,400.41 3,400.41 6,800.82
Jesus Ramirez 5/7/17 — 1/21/18 2,814.72 2,814.72 5,629.44
Rafial Dario Ramirez 5/7/17 — 4/8/18 1,550.34 1,550.34 3,100.68
Mateo Ramos SIT7T — V/12/17 1,331.53 1,331.53 2,663.06
Justino Reyes SITIL7T — 4/8/18 2,963.70 2,963.70 5,927.40
Tomas Ricardo SIT/17 — 4/8/18 2,443.00 2,443.00 4,886.00
Vivian Rivas 11/19/17 — 4/8/18 485.00 485.00 970.00
Cornelio Roberlo 11/19/17 — 4/8/18 863.32 863.32 1,726.64
Luis Roberto T/9/17 — 4/8/18 1,906.29 1,906.29 3,812.58
Jose Roblero 5/7/17 — 4/8/18 376.15 376.15 752.30
Jose Rodas 11/19/17 — 4/8/18 872.83 872.83 1,745.66
Pablo Rodiriquez S/T/N7 — 12/31/17 1,044.91 1,044.91 2,089.82
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Moses Rodriques S/T/N7 — 4/8/18 1,914.14 1,914.14 3,828.28
Elmis Rodriquez SIT] — 4/8/18 1,765.66 1,765.66 3,531.32
Oscar Rojas 11/19/17 — 12/17/17 130.86 130.86 261.72
Tomasa Saldana 5/7/17 — 4/8/18 1,813.17 1,813.17 3,626.34
Thomasa Saladon 5/7/17 — 4/8/18 2,258.41 2,258.41 4,516.82
Alex Sanchez TINT — 4/8/18 3,907.25 3,907.25 7,814.50
Eugenia Lopez Sanchez S/TIN7 — 4/8/18 1,675.29 1,675.29 3,350.58
Raul Sanchez S/T/N7 — 4/8/18 1,942.07 1,942.07 3,884.14
Raymonda Lopez Sanchez S/T/17 — 4/8/18 2,014.03 2,014.03 4,028.06
Tomas Sanchez 5/7/17 — 4/8/18 2,184.62 2,184.62 4,369.24
Felipe Santizo 5/7/17 — 4/8/18 1,770.20 1,770.20 3,540.40
Julio Francisco Santizo SIT/N7 — 4/8/18 1,831.82 1,831.82 3,663.64
Alfonso Santos 5/7/17 — 4/8/18 2,582.80 2,582.80 5,165.60
Mario Jose Santos S/T/7 — 4/8/18 1,813.30 1,813.30 3,626.60
Fidel Silva 5/7/17 — 4/8/18 2,364.61 2,364.61 4,729.22
Santiago Silva 5/7/17 — 4/8/18 2,767.42 2,767.42 5,534.84
Zenaido Martinez Silva S/TI7 — 4/8/18 2,426.87 2,426.87 4,853.74
Juan Tiburcio 5/T/N7 — 4/8/18 2,639.14 2,639.14 5,278.28
Emma Trejo S/TINT — 4/8/18 1,899.79 1,899.79 3,799.58
Geronimo Guerrero Trejo S/T/N7 — 4/8/18 5,348.59 5,348.59 10,697.18
Virginia Vargas 5/7/17 — 4/8/18 487.13 487.13 974.26
Marvin Velasquez 2/25/18 — 4/8/18 205.34 205.34 410.68
Reyna Zamorana SIT] — 4/8/18 2,114.13 2,114.13 4,228.26
Catarino Zapote S/ITAT — 4/8/18 2,587.80 2,587.80 5,175.60
Cristina Zapote SITINT — 4/8/18 1,973.63 1,973.63 3,947.26
Isabel Zelaya 5/7/17 — 4/8/18 1,732.73 1,732.73 3,465.46
Maritza Zelaya 12/31/17 — 4/8/18 323.76 323.76 647.52
Total: $305,000 $305,000 $610,000

 

 

 

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Schedule B

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Employee Payments to be made with 10 days of
order issuing
Delfino Fernandez Abad 12,533.58
. Juan Lopez Alvarado 5,547.82
Anahi Alvarez 4,791.48
Ramario Navarro Amezcua 3,626.34
Juan Cruz Angeles 3,626.34
Melinda Ann 668.86
Petronilo Argueta 4,926.88
Yamir Arismendi 566.70
Evelio Alejandro Bravo Arreaga 3,626.34
Zilo Arzola 3,016.80
Jake Atkins 1,907.34
Rogelio Huertas Aviles 3,562.58
Erick Alejandro Sanchez Baena 3,626.34
Pablo Barreras 5,260.64
Juan Bautista 578.44
Ismael Beltran 4,232.56
Jennifer Bishop 1,200.04
Macario Bohorquez 5,440.88
Timothy Bowlin 1,260.04
Gross Amount: $70,000
Employee Payments to be made within 1 month
of order issuing
Timothy Bowlin 6,086.26
Justin Bussell 902.62
Cecilio Arozola Campos 3,626.34
Erandi Campos 3,733.72
Teresita de Jesus Martinez Carrizales 651.06
Gross Amount: $15,000
Employee Payments to be made within 2 months
of order issuing
Teresita de Jesus Martinez Carrizales 2,975.28
Valentin Catalin 1,151.98
Nayeli Chagala 1,379.32
Alberto Librado Chavez 3,892.08
Ricardo Soto Colon 3,932.90
Victoria Contreras 1,668.44

 

 

 

 

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Gross Amount: [

_

$15,000

 

 

 

 

 

 

 

Employee Payments to be made within 3 months
of order issuing
Victoria Contreras 1,959.70
Aljeandra Cruz 4,577.70
Donato Hernandez Cruz 4,988.60
Guillimina Cruz 3,474.00
Gross Amount: $15,000

 

 

Employee

Payments to be made within 4 months
of order issuing

 

 

 

 

 

 

Guillimina Cruz 1,007.24
Luisa Mendoza Cruz 4,311.72
Margarita Hernandez Cruz 7,280.76

Maria Cruz 994.90
Donnie Dalton 1,405.38
Gross Amount: $15,000

 

 

 

 

 

 

 

Employee Payments to be made within 5 months
of order issuing
Donnie Dalton 11,314.22
Jonathan Davis 155.34
Gina Dean 173.42
Domingo Gregorio Domingo 3,357.02
Gross Amount: $15,000

 

 

Employee

Payments to be made within 6 months
of order issuing

 

 

 

 

 

Domingo Gregorio Domingo 269.32
C. Spencer England 7,751.30
Francisco Nuci Estrada 4,089.18
Juan Silva Estrada 2,890.20
Gross Amount: $15,000

 

 

 

 

 

 

 

Employee Payments to be made within 7 months
of order issuing
Juan Silva Estrada 1,808.62
Pedro Nuci Estrada 4,311.12

 

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Omar Barcelos Garcia

1,873.84

 

 

 

Mateo Gomez 3,816.18
Nicolas Gomez 3,190.24
Gross Amount: $15,000

 

 

Employee

Payments to be made within 8 months
of order issuing

 

 

 

 

 

Nicolas Gomez 1,266.80
Esteban Gonsalez 1,823.66
Maria Gonsalez 4,039.30
Augustin Gonzalez 7,870.24
Gross Amount: $15,000

 

 

 

 

 

 

 

 

Employee Payments to be made within 9 months
of order issuing

Augustin Gonzalez 3,413.52

Elvia Cruz Gonzalez 3,626.34

Pedro Filipe Gutierrez 4,700.42
Alejandra Guzman 168.76

Alejandro Guzman 3,090.96
Gross Amount: $15,000

 

 

 

Employee

Payments to be made within 10
months of order issuing

 

 

 

 

Alejandro Guzman 1,913.12
Jesus Perez Hernandez 9,251.06
Jose Lucas Hernandez 3,835.82

Gross Amount: $15,000

 

 

Employee

Payments to be made within 11
months of order issuing

 

 

 

 

 

Jose Lucas Hernandez 4,289.94
Juan Dajui Hernandez 3,626.34
Juan Lucas Hernandez 5,512.86
Salvado Huipe 1,570.86
Gross Amount: $15,000

 

 

 

Employee

 

Payments to be made within 12
months of order issuing

 

 

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Salvado Huipe 2,077.00
Martin Arzola Hurtado 3,626.34
Priscilla Keck 147.92
Tracey Kinningham 2,330.44
Carl Kinser 6,818.30
Gross Amount: $15,000

 

 

 

 

 

 

Employee Payments to be made within 13
months of order issuing
Carl Kinser 5,189.70
Gudelia Kinser 6,253.48
Jason Kinser 3,556.82
Gross Amount: $15,000

 

 

 

 

 

 

Employee Payments to be made within 14
months of order issuing
Jason Kinser 10,302.96
Ponciano Hernandez Lama 3,626.34
Taylor Lamb 1,070.70
Gross Amount: $15,000

 

 

 

 

 

 

 

Employee Payments to be made within 15
months of order issuing
Taylor Lamb 1,460.62
Victor Leal 5,982.28
Alberto Libraro 3,544.42
Esteban Lopez 4,012.68
Gross Amount: $15,000

 

 

 

 

 

 

Employee Payments to be made within 16
months of order issuing
Esteban Lopez 9,190.02
Joel Lopez 3,350.58
Martha Alvarado Lopez 2,459.40
Gross Amount: $15,000

 

 

 

 

 

 

Employee Payments to be made within 17
months of order issuing
Martha Alvarado Lopez 5,556.86
Marvin Oriel Marroquin Lopez 3,626.34

 

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Pablo Lopez 2,447.20

Hollie Luallen 1,070.04
Juan Manual 2,299.56

Gross Amount: $15,000

 

 

 

 

 

 

 

 

Employee Payments to be made within 18
months of order issuing

Juan Manual 4,097.22

Jose Saul Manuel 3,626.34

Antonio Garcia Martin 3,626.34

Gonzalo Chavez Martinez 3,626.34
Luis Bautista Martinez 23.76

Gross Amount: $15,000

 

 

 

 

 

 

 

 

 

 

 

Employee Payments to be made within 19
months of order issuing

Luis Bautista Martinez 3,602.58

Teresa Martinez 3,915.94
Adan Mejia 441,96
Mario Mejia 92.88
Adriana Cruz Mendoza 856.52
Carolina Romulo Mendoza 470.00

Ofelia Mendoza Mendoza 3,464.00

Veronica Perez Mendoza 2,156.12

Gross Amount: $15,000

 

 

 

 

 

 

Employee Payments to be made within 20
months of order issuing
Veronica Perez Mendoza 1,661.48
Jorge Meraz 13,220.36
Alma Mercado 118.16
Gross Amount: $15,000

 

 

Employee

Payments to be made within 21
months of order issuing

 

 

 

 

 

 

 

Alma Mercado 3,508.18
Frank Montalvo 271.34

Joseph Montalvo 9,087.48

Candelaria Morales 1,185.90
Esperanza Torres Morales 947.10

 

 

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Gross Amount: |

$15,000

 

Employee

Payments to be made within 22
months of order issuing

 

 

 

 

 

 

Esperanza Torres Morales 3,204.30

Glendy Morales 928.30
Gloria Mejia Munoz 3,894.06
Ramiro Narro 1,357.06
Javier Navarrete 5,616.28
Gross Amount: $15,000

 

 

Employee

Payments to be made within 23
months of order issuing

 

 

 

 

 

 

 

 

 

 

Javier Navarrete 690.46
Juan Nuci 997.08

Hector Ortiz 13,312.46
Gross Amount: $15,000

Employee Payments to be made within 24
months of order issuing _

Hector Ortiz 10,837.52
Magdalena Alonso Pablo 3,626.34
Pedro Gomez Pablo 536.14
Gross Amount: $15,000

 

 

Employee

Payments to be made within 25
months of order issuing

 

 

 

 

 

 

 

 

 

Pedro Gomez Pablo 3,090.20
Carmen (Angela) Pedraza 2,686.26
Rigobeto Peres 1,015.68
Daniel Perez 1,090.20
David Perez 3,443.12
Esperanza Perez 2,123.24
Jose Perez 1,317.66

Virgen Mendoza Perez 233.64 -
Gross Amount: $15,000

 

 

 

Employee

 

Payments to be made within 26
months of order issuing

 

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Virgen Mendoza Perez

3,583.96

 

 

 

 

 

Martha Polido 603.52
Teresa Quezada 3,517.36
Cesar Ramirez 3,308.76
Claudio Ramirez 3,986.40
Gross Amount: $15,000

 

 

Employee

Payments to be made within 27
months of order issuing

 

 

 

 

 

Claudio Ramirez 946.48
Cristino Ramirez 6,800.82
Jesus Ramirez 5,629.44
Rafial Dario Ramirez 1,623.26
Gross Amount: $15,000

 

 

Employee

Payments to be made within 28
months of order issuing _

 

 

 

 

 

 

Rafial Dario Ramirez 1,477.42
Mateo Ramos 2,663.06
Justino Reyes 5,927.40

Tomas Ricardo 4,886.00
Vivian Rivas 46.12
Gross Amount: $15,000

 

 

Employee

Payments to be made within 29
months of order issuing

 

 

 

 

 

 

 

 

 

Vivian Rivas 923.88
Cornelio Roberlo 1,726.64
Luis Roberto 3,812.58
Jose Roblero 752.30
Jose Rodas 1,745.66
Pablo Rodiriquez 2,089.82
Moses Rodriques 3,828.28
Elmis Rodriquez 120.84
Gross Amount: $15,000

 

 

 

 

 

 

Employee Payments to be made within 30
months of order issuing —
Elmis Rodriquez 3,410.48
Oscar Rojas 261.72

 

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Tomasa Saldana

3,626.34

 

 

 

Thomasa Saladon 4,516.82
Alex Sanchez 3,184.64
Gross Amount: $15,000

 

 

 

 

 

 

 

 

Employee Payments to be made within 31
months of order issuing
Alex Sanchez 4,629.86
Eugenia Lopez Sanchez 3,350.58
Raul Sanchez 3,884.14
Raymonda Lopez Sanchez 3,135.42
Gross Amount: | $15,000

 

 

 

 

 

 

 

 

Employee Payments to be made within 32
months of order issuing
Raymonda Lopez Sanchez 892.64
Tomas Sanchez 4,369.24
Felipe Santizo 3,540.40
Julio Francisco Santizo 3,663.64
Alfonso Santos 2,534.08
Gross Amount: $15,000

 

 

 

 

 

 

 

Employee Payments to be made within 33
months of order issuing
Alfonso Santos 2,631.52
Mario Jose Santos 3,626.60
Fidel Silva 4,729.22
Santiago Silva 4,012.66
Gross Amount: $15,000

 

 

 

 

 

 

 

 

 

Employee Payments to be made within 34
months of order issuing
Santiago Silva 1,522.18
Zenaido Martinez Silva 4,853.74
Juan Tiburcio 5,278.28
Emma Trejo 3,345.80
Gross Amount: $15,000

 

 

Employee

Payments to be made within 35

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months of order issuing
Emma Trejo 453.78
Geronimo Guerrero Trejo 10,697.18
Virginia Vargas 974.26
Marvin Velasquez 410.68
Reyna Zamorana 2,464.10
Gross Amount: $15,000
Employee Payments to be made within 36
months of order issuing
Reyna Zamorana 1,764.16
Catarino Zapote 5,175.60
Cristina Zapote 3,947.26
Isabel Zelaya 3,465.46
Maritza Zelaya 647.52
Gross Amount: $15,000

 

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